Case: 2:05-cv-00976-ALM-TPK Doc #: 24 Filed: 04/14/06 Page: 1 of 1 PAGEID #: 343



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


2:03-cv-0264     2:04-cv-0552     2:05-cv-0118     2:05-cv-0478     2:05-cv-0746     2:05-cv-0989
2:03-cv-0422     2:04-cv-0621     2:05-cv-0143     2:05-cv-0481     2:05-cv-0758     2:05-cv-1006
2:03-cv-0783     2:04-cv-0632     2:05-cv-0176     2:05-cv-0500     2:05-cv-0768     2:05-cv-1026
2:03-cv-0945     2:04-cv-0651     2:05-cv-0188     2:05-cv-0504     2:05-cv-0775     2:05-cv-1029
2:03-cv-1000     2:04-cv-0735     2:05-cv-0216     2:05-cv-0520     2:05-cv-0827     2:05-cv-1030
2:03-cv-1160     2:04-cv-0738     2:05-cv-0246     2:05-cv-0529     2:05-cv-0828     2:05-cv-1062
2:04-cv-0053     2:04-cv-0987     2:05-cv-0249     2:05-cv-0552     2:05-cv-0835     2:05-cv-1077
2:04-cv-0092     2:04-cv-1019     2:05-cv-0293     2:05-cv-0603     2:05-cv-0886     2:05-cv-1102
2:04-cv-0178     2:04-cv-1051     2:05-cv-0374     2:05-cv-0608     2:05-cv-0901     2:05-cv-1143
2:04-cv-0183     2:04-cv-1085     2:05-cv-0424     2:05-cv-0667     2:05-cv-0918     2:05-cv-1153
2:04-cv-0212     2:04-cv-1113     2:05-cv-0425     2:05-cv-0688     2:05-cv-0939
2:04-cv-0339     2:05-cv-0039     2:05-cv-0442     2:05-cv-0695     2:05-cv-0976
2:04-cv-0361     2:05-cv-0064     2:05-cv-0446     2:05-cv-0726     2:05-cv-0977
2:04-cv-0403     2:05-cv-0077     2:05-cv-0477     2:05-cv-0739     2:05-cv-0987


                                             ORDER

        Each of the above-listed cases has previously been identified as ready for a mediation
conference during the Court’s June Settlement Week, which is scheduled to occur from
June 12 to June 16, 2006. Recently, the Court has been forced to vacate or continue more than
half of the cases initially set for Settlement Week. In order to avoid the administrative costs
associated with vacating a case after it has been set, the Court is making this inquiry to determine
if any of the above cases should not be set for a Settlement Week Conference.

        It is therefore ORDERED that, within five business days of the receipt of this order,
counsel confer concerning the readiness of their case for Settlement Week. If all counsel concur
that the case is not ready to set, counsel shall call the undersigned’s Courtroom Deputy, Wanda
Harrison, at 614-719-3023, by April 28, 2006 to advise her that the case should not be set.
Counsel should include in such advice whether the case should be continued to another
Settlement Week and, if so, which Settlement Week.

         Nothing in this order is intended to preclude a timely motion to vacate or continue a
settlement conference should the grounds for such motion become apparent only after the case is
set for a Settlement Week conference on a specific date and time.


                                              /s/ Terence P. Kemp
                                              United States Magistrate Judge
